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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

  SYMBOLOGY INNOVATIONS, LLC,

        Plaintiff,
                                                  No. 2:17-cv-786-JRG-RSP
  v.
                                                       PATENT CASE
  COOPER BUSSMANN, LLC,
                                                 JURY TRIAL DEMANDED
        Defendant.


                         COOPER BUSSMANN, LLC’S
           RULE 12(c) MOTION FOR JUDGMENT ON THE PLEADINGS
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  I.     SUMMARY OF THE ARGUMENT

         Cooper moves for judgment on the pleadings pursuant to Rule 12(c) of the Federal

  Rules of Civil Procedure. The claims of Symbology’s patents are directed to the abstract

  idea of data recognition and retrieval. But data recognition and retrieval, like recognizing

  and retrieving information associated with a pattern, such as a barcode, is not a

  technological improvement, an inventive way of applying conventional technology, or

  even new.

         Moreover, none of the claims recite any specific hardware or software. Instead, the

  specification discloses only that the alleged invention uses off-the-shelf computer

  components and devices like a “portable electronic device,” “visual detection

  applications,” and a “remote server” to perform conventional activities like “capturing,”

  “detecting,” “decoding,” “sending,” “receiving,” and “displaying” information.

  Symbology’s patents do no more than withdraw a basic idea (data recognition and

  retrieval) from the public domain without disclosing any particularized application of

  that idea. Therefore, Symbology’s patents are invalid under 35 U.S.C. § 101 for failure to

  claim patent-eligible subject matter.

         Resolving these issues does not require discovery or formal claim construction. To

  avoid wasting judicial and party resources unnecessarily litigating invalid patents,

  Cooper thus requests that the Court dismiss the Complaint pursuant to Rule 12(c) of the

  Federal Rules of Civil Procedure.




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  II.    STATEMENT OF THE ISSUE

         Abstract ideas are ineligible for patentability under 35 U.S.C. § 101, absent an

  inventive concept that amounts to significantly more than the abstract idea. The Patents-

  in-Suit are directed to the abstract idea of data recognition and retrieval. The Patents-in-

  Suit do not include an inventive concept beyond that idea. Should the Court therefore

  dismiss Symbology’s Complaint on the pleadings?

  III.   STAGE AND NATURE OF PROCEEDINGS

         On December 22, 2017, Symbology filed this lawsuit accusing Cooper1 of

  infringing U.S. Patent Nos. 7,992,773 (the “’773 Patent”); 8,424,752 (the “’752 Patent”);

  8,651,369 (the “’369 Patent”); and 8,936,190 (the “’190 Patent”) (collectively, the “Patents-

  in-Suit”). Symbology accuses Cooper of infringing “one or more claims” of the Patents-

  in-Suit2 by Cooper’s alleged “using and/or incorporating” a Quick Response Code (“QR

  code”) that appears on some advertising media:




  1 On March 8, 2018, Plaintiff filed an unopposed motion to substitute Cooper Bussmann,

  LLC as Defendant in the above-captioned matter. (Dkt. No 9.)
  2 In its Complaint, Symbology asserts that Cooper: “has infringed and continues to

  infringe one or more claims of the ’773 Patent, including (at least) Claims 1, 2, 3, 4, 6, 7, 8,
  10, 11, 14, 15, 17, and 18” (Dkt. No. 1 (“Compl.”) ¶ 32); “has infringed and continues to
  infringe one or more claims of the ’752 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8,
  9, 11, 12, 15, 17, 18, 23, 24, and 25” (id. ¶ 51); “has infringed and continues to infringe one
  or more claims of the ’369 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15,
  17, 18, 23, 24, and 25” (id. ¶ 70); and “has infringed and continues to infringe one or more
  claims of the ’190 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15, 17, 18,
  and 20” (id. ¶ 90).

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  Compl. ¶¶ 37, 56, 76, 96.

  IV.    THE PATENTS-IN-SUIT

         The Patents-in-Suit are entitled “System and Method for Presenting Information

  about an Object on a Portable Electronic Device” and share the same Abstract and the

  same specification. According to the Abstract, the Patents-in-Suit are directed to

  “enabling a portable electronic device to retrieve information about an object when the

  object’s symbology, e.g., a barcode, is detected.” ’773 Patent at Abstract; ’752 Patent at

  Abstract; ’369 Patent at Abstract; and ’190 Patent at Abstract.

         Claim 1 of the ’752 Patent, set forth below, is representative of the claims in the

  Patents-in-Suit:

         1. A method comprising:

            capturing a digital image using a digital image capturing device that is
               part of a portable electronic device;

            detecting symbology associated with an object within the digital image
               using a portable electronic device;




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             decoding the symbology to obtain a decode string using one or more
                visual detection applications residing on the portable electronic
                device;

             sending the decode string to a remote server for processing;

             receiving information about the object from the remote server wherein
                the information is based on the decode string of the object;

             displaying the information on a display device associated with the
                portable electronic device.

  ’752 Patent at cl. 1.

         This claim can be broken down into six main steps: (1) capturing an image with a

  camera or a scanner on a “portable electronic device” (e.g., taking a photograph or

  scanning an image with a smartphone); (2) detecting a symbology (e.g., recognizing a

  barcode in the captured image); (3) decoding the symbology to obtain a “decode string”

  (e.g., reading information from the barcode); (4) sending the “decode string” to a “server”

  for processing (e.g., requesting a webpage based on the information obtained from the

  barcode); (5) receiving information from the “server” in response (e.g., receiving the

  contents of the webpage ); and (6) displaying the information received on the portable

  electronic device (e.g., displaying a webpage). Put simply, these steps are directed to

  recognizing and retrieving information associated with a pattern.

         The applicant made clear through his own language in the specification that the

  components and processes for carrying out the claimed method were conventional. For

  example, the claimed “portable electronic device” can be virtually any mobile device

  capable of taking a photograph or scanning an image. Id. at 1:58-61 (“Examples of the

  portable electronic devices that contain both applications and imaging systems include

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  Apple Computer’s IPhone, Google’s Droid, and various mobile devices from Motorola”);

  id. at 2:57-61 (“Using any applicable visual detection device (e.g., a camera, scanner, or

  other device) on the portable electronic device, the user may select an object by scanning

  or capturing an image of symbology (e.g., barcodes) associated with the object.”). The

  applicant further acknowledged that various programs and applications operable on a

  portable electronic device to scan and decode a barcode were available in the prior art.

  Id. at 3:29-33 (“Examples of applications that allow scanning include Neomedia’s Neo

  Reader, Microsoft’s Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy, etc.”).

  According to the Patents-in-Suit, once a barcode is decoded (using any of these existing

  applications), the “decode string” (i.e., the information obtained from the barcode) is then

  “sent” to a “remote server” to retrieve information (e.g., webpage content) that is then

  displayed on the portable electronic device. Id. at 3:21–28.

         All the modules of the claimed “remote server” are generic computer modules

  and, as the specification states, each “may be implemented in various forms of hardware,

  software, firmware, special purpose processors, or a combination thereof.” Id. at 9:65–

  10:1. The specification provides examples of a “remote server,” but each is a generic

  Internet website that users visit on a regular basis: “Warner Brothers server connected to

  a Warner Brothers website” or “an e-commerce site such as Amazon.com.” Id. at 5:33–42.

         The “communication system” used to implement the claimed method is also

  composed of generic networking elements. Figure 1 in the ’752 Patent depicts these

  conventional networking elements:




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  Id. at Fig. 1. The specification explains that this system is comprised of generic

  components, including “a server 12, a storage medium 14, a portable electronic device 16,

  one or more satellites 18, one or more satellite dishes 20, one or more mobile terminal

  communications towers 22, one or more Wi-Fi towers 24.” Id. at 3:63-67. No specialized

  components or programming are disclosed or required. For example, the portable

  electronic device and the server are connected to the communication network “by any

  suitable means.” Id. at 4:7-28.

         The applicant acknowledged that various prior-art scanning and decoding

  programs were available to carry out the functions of scanning a barcode to retrieve

  information from a website, but noted: “it may be difficult to select the appropriate

  application for executing the scanning functions” because “a user may have dozens of

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  applications loaded on his or her portable electronic device.” Id. at 3:38-39. The applicant

  thus wanted to provide a more convenient way to “select[] . . . the best applications for

  scanning a particular symbology.” Id. at 3:36-50. In other words, the applicant wanted to

  simply automate something that was otherwise performed manually.

         A.     Legal Standard

                1.     This Case Should Be Disposed of at the Pleading Stage.

         Rule 12(c) of the Federal Rules of Civil Procedure provides that “[a]fter the

  pleadings are closed—but early enough not to delay trial—a party may move for

  judgment on the pleadings.” Loyalty Conversion Sys. Corp. v. Am. Airlines, 66 F. Supp. 3d

  829, 834 (E.D. Tex. 2014) (Bryson, J., sitting by designation). A motion under Rule 12(c)

  “is designed to dispose of cases where the material facts are not in dispute and a judgment

  on the merits can be rendered by looking to the substance of the pleadings and any

  judicially noticed facts.” Id. (quoting Great Plains Trust Co. v. Morgan Stanley Dean Witter

  & Co., 313 F.3d 305, 312 (5th Cir. 2002)).

         The legal standards governing a motion under Rule 12(c) are the same as those

  governing a motion under Rule 12(b)(6). Johnson v. Johnson, 385 F.3d 503, 529 (5th Cir.

  2004). Thus, “[t]he ultimate question for the court in deciding a Rule 12(c) motion is

  whether, viewed in the light most favorable to the plaintiff, the complaint states a valid

  claim for relief.” Loyalty Conversion, 66 F. Supp. 3d at 834. “A motion for judgment on the

  pleadings under Rule 12(c) should be granted if the complaint lacks a cognizable legal

  theory.” Jericho Sys. Corp. v. Axiomatics, Inc., No. 3:14–CV–2281, 2015 WL 2165931, at *1

  (N.D. Tex. May 7, 2015).


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         Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561

  U.S. 593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings

  stage if it is apparent from the face of the patent that the asserted claims are not directed

  to eligible subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718–19 (Fed. Cir.

  2014) (Mayer, J., concurring). In those situations, claim construction is not required to

  conduct a § 101 analysis. Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273

  (Fed. Cir. 2012) (“[W]e perceive no flaw in the notion that claim construction is not an

  inviolable prerequisite to a validity determination under § 101.”).

                2.      The Law of 35 U.S.C. § 101.

         Section 101 of the Patent Act sets forth four categories of patentable subject matter:

  “any new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C.

  § 101. Also, the law recognizes three exceptions to patent eligibility: “laws of nature,

  physical phenomena, and abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 309 (1980)

  (emphasis added). Abstract ideas are ineligible for patent protection because a monopoly

  over these ideas would preempt their use in all fields. See Bilski, 561 U.S. at 611–12. In

  other words, “abstract intellectual concepts are not patentable, as they are the basic tools

  of scientific and technological work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63,

  67 (1972)).

         Determining whether a patent claim is impermissibly directed to an abstract idea

  involves two steps. First, the court determines “whether the claims at issue are directed

  to a patent-ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355

  (2014). Second, if the claim contains an abstract idea, the court evaluates whether there is

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  “an ‘inventive concept’—i.e., an element or combination of elements that is sufficient to

  ensure that the patent in practice amounts to significantly more than a patent upon the

  ineligible concept itself.” Id. (internal quotations and citations omitted).

         Transformation into a patent-eligible application requires “more than simply

  stating the abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo

  Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim

  could be performed in the human mind, or by a human using pen and paper, it is not

  patent-eligible. CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir.

  2011). Also, a claim is not meaningfully limited if it includes only token or insignificant

  pre- or post-solution activity—such as identifying a relevant audience, category of use,

  field of use, or technological environment. Mayo, 132 S. Ct. at 1297–98, 1300–01; Bilski, 561

  U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191–92 & n.14 (1981); Parker v. Flook, 437 U.S.

  584, 595 n.18 (1978). Finally, “simply appending conventional steps, specified at a high

  level of generality, to laws of nature, natural phenomena, and abstract ideas cannot make

  those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see also Fort Props.,

  Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a broad and

  general limitation does not impose meaningful limits on the claim’s scope.”).

         B.     The Patents-in-Suit are Invalid Under 35 U.S.C. § 101

         Symbology’s Complaint should be dismissed. The claims of the Patents-in-Suit are

  invalid under 35 U.S.C. § 101 because they fail both prongs of the Alice test. Each of the

  claims is directed to the abstract idea of data recognition and retrieval, which is not

  eligible for patenting. None of the claims contains an “‘inventive concept’ . . . sufficient

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  to ensure that the patent in practice amounts to significantly more than a patent upon the

  ineligible concept itself.” See Alice, 134 S. Ct. at 2355 (emphasis added). Because the claims

  of the Patents-in-Suit are invalid under 35 U.S.C. § 101, and pursuant to Rule 12(c),

  Cooper respectfully requests that the Court grant this motion, and enter judgment in

  favor of Cooper, and dismiss this case with prejudice.

                 1.     Alice Step 1.

         In determining patent eligibility under § 101, the Court must first determine

  whether the claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any

  plausible reading, the claims of the Patents-in-Suit are directed to an unpatentable,

  abstract idea because they claim nothing more than the “longstanding,” “routine,” and

  “conventional” concept of data recognition and retrieval. See Alice, 134 S. Ct. at 2356-59;

  Bilski, 561 U.S. at 611.

                        (a)    Claim 1 of the ’752 Patent is directed to the abstract idea of
                               data recognition and retrieval.

         Claim 1 of the ’752 Patent is representative of the claims.3 See, e.g., Phoenix

  Licensing, L.L.C. v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at

  *8–9 (E.D. Tex. Mar. 8, 2017) (invalidating 974 claims after analyzing only a few

  “representative claims” where the other claims were “substantially similar” and “linked

  to the same abstract idea.”). In assessing whether this claim is directed to an abstract idea,




  3 Where claims are “substantially similar and linked to the same abstract idea,” courts

  may look to representative claims in a § 101 analysis. Content Extraction & Transmission
  LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1349 (Fed. Cir. 2014).

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  the Court must look past the claim language for the purpose of the claim to determine

  what the invention is trying to achieve. Morales v. Square, Inc., 75 F. Supp. 3d. 716, 725

  (W.D. Tex. 2014), aff’d, 621 F. App’x 660 (Fed. Cir. 2015), cert. denied, 136 S. Ct. 1461 (2016).

  All Claim 1 of the ’752 Patent explains is a way to use a barcode to obtain information in

  order to access a webpage, consisting of nothing more than a set of basic ideas like

  capturing, detecting, decoding, sending, receiving, and displaying data:

                             Claim Language                                    Claimed Idea
   A method comprising:
      capturing a digital image using a digital image capturing             capturing data
         device that is part of a portable electronic device;
      detecting symbology associated with an object within the              detecting data
         digital image using a portable electronic device;
      decoding the symbology to obtain a decode string using one            decoding data
         or more visual detection applications residing on the
         portable electronic device;
      sending the decode string to a remote server for processing;          sending data
      receiving information about the object from the remote                receiving data
         server wherein the information is based on the decode
         string of the object;
      displaying the information on a display device associated             displaying data
         with the portable electronic device.

         At a high level, this claim describes the most generic functional steps of a standard

  computer (i.e., capturing, detecting, decoding, sending, receiving, and displaying data).

  Such a broad concept is not patent eligible because it “recite[s] an abstraction—an idea,

  having no particular concrete or tangible form.” Ultramercial, 772 F.3d at 715. That the

  claim purports to implement the steps with conventional components like a “portable

  electronic device,” a “remote server,” a “display device,” and generic “visual detection

  applications” does not make it any less abstract.



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         The specification (shared by the Patents-in-Suit) admits that barcode scanning and

  decoding programs were prevalent at the time of the invention. ’752 Patent at 3:29-36.

  Indeed, the claims implement this prior-art technology to carry out the steps of capturing,

  detecting, decoding, and retrieving information from a server. And while the applicant

  longed to provide a more convenient way to select an “appropriate” scanning/decoding

  application from the “dozens of applications” that may reside on a user’s portable

  electronic device, he failed to disclose any details of how that was to be accomplished in

  Claim 1 of the ’752 Patent. See Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343,

  1348 (Fed. Cir. 2015) (concluding that claim not directed to patent-eligible subject matter

  where “[t]he mechanism for maintaining the state is not described, although this is stated

  to be the essential innovation.”). Claim 1 of the ’752 Patent does no more than recognize

  an image, decode the image, then do something based upon the decoded information

  with existing technology. It is thus directed to the abstract idea of data recognition and

  retrieval.

         Courts have found similar patent claims to be ineligible. In Content Extraction, the

  claims generally recited “a method of 1) extracting data from hard copy documents using

  an automated digitizing unit such as a scanner, 2) recognizing specific information from

  the extracted data, and 3) storing that information in a memory.” Content Extraction, 776

  F.3d at 1345. The claimed method “could be performed by software on an automated

  teller machine (ATM) that recognizes information written on a scanned check, such as

  the check’s amount, and populates certain data fields with that information in a

  computer’s memory.” Id. The Federal Circuit concluded in Alice’s first step that the claims

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  were “drawn to the abstract idea of 1) collecting data, 2) recognizing certain data within

  the collected data set, and 3) storing that recognized data in a memory”; or, put simply:

  “data recognition and storage.” Id. at 1347. In rejecting the plaintiff’s argument that the

  claims were not abstract because they required the use of a scanner, the Federal Circuit

  likened the claims to those found abstract in Alice, which “also required a computer that

  processed streams of bits.” Id. Like the Content Extraction claims, Claim 1 of the ’752 Patent

  is abstract because it simply decodes an image to obtain information and then retrieves

  data from a server based on that information. The claims in Content Extraction were

  directed to data recognition and storage, whereas the Patents-in-Suit are directed to data

  recognition and retrieval—the former claims stored the recognized data, while the latter

  claims retrieve additional data based on the recognized data.

         In Recognicorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322 (Fed. Cir. 2017), the Federal

  Circuit found the patent claim at issue to be directed toward the abstract idea of

  “encoding and decoding image data.” Recognicorp, 855 F.3d at 1324. The claim at issue in

  Recognicorp recited:

         A method for creating a composite image, comprising:

            displaying facial feature images on a first area of a first display via a first device
               associated with the first display, wherein the facial feature images are
               associated with facial feature element codes;

            selecting a facial feature image from the first area of the first display via a user
                interface associated with the first device;

            wherein the first device incorporates the selected facial feature image into a
              composite image on a second area of the first display, wherein the
              composite image is associated with a composite facial image code having at
              least a facial feature element code and wherein the composite facial image

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                code is derived by performing at least one multiplication operation on a
                facial code using one or more code factors as input parameters to the
                multiplication operation; and

            reproducing the composite image on a second display based on the composite
               facial image code.

  Id. The Federal Circuit described the claim as a “method whereby a user displays images

  on a first display, assigns image codes to the images through an interface using a

  mathematical formula, and then reproduces the image based on the codes.” Id. at 1326.

  The Federal Circuit found that this method reflected “standard encoding and decoding.”

  Id.

         The Federal Circuit then explained that encoding and decoding data is “an abstract

  concept long utilized to transmit information.” Id. (citing Intellectual Ventures I LLC v.

  Capital One Fin. Corp., 850 F.3d 1332, 1340–41 (Fed. Cir. 2017) (organizing, displaying, and

  manipulating data encoded for human- and machine-readability is directed to an abstract

  concept)). The Federal Circuit provided several examples of long-utilized methods of

  encoding and decoding of data to transmit information: “Morse code, ordering food at a

  fast food restaurant via a numbering system, and Paul Revere’s ‘one if by land, two if by

  sea’ signaling system all exemplify encoding at one end and decoding at the other end.”

  Id. Claim 1 of the ’752 Patent likewise simply decodes an image to obtain information, an

  abstract concept.

         Most recently, in Secured Mail Solutions LLC v. Universal Wilde, Inc., 873 F.3d 905

  (Fed. Cir. 2017), the Federal Circuit found claims directed to encoding and decoding a QR

  code invalid under both Alice steps. The Secured Mail claims “provide[d] a method


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  whereby a barcode is generated, affixed to a mail object, and sent through the mail system

  [and t]hen, upon receipt, the barcode is scanned, and data corresponding to the sender is

  sent to the recipient over the network and displayed on the recipient’s device.” Id. at 910–

  11. The Federal Circuit found that “each step of the process is directed to the abstract

  process of communicating information about a mail object using a personalized

  marking.” Id. at 911. And because the claims were “non-specific and lack[ed] technical

  detail,” utilizing “well known” technologies and generic hardware, the Federal Circuit

  concluded that the claims lacked an inventive concept. Id. at 912.

         The idea underlying Claim 1 of the ’752 Patent is just as abstract as that of the

  Content Extraction, Recognicorp, and Secured Mail claims. Claim 1 of the ’752 Patent does

  not include any specific limitations or steps regarding extracting data or decoding the

  data. Rather, all of the steps required to carry out the method are directed to the generic,

  conventional ideas of recognizing an image, decoding the image, then doing something

  based upon the decoded information. Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558

  F. App’x 988, 992 (Fed. Cir. 2014) (finding claim directed to “the well-known concept of

  categorical data storage, i.e., the idea of collecting information in classified form, then

  separating and transmitting that information according to its classification, is an abstract

  idea that is not patent-eligible”). That Claim 1 of the ’752 Patent sends and receives the

  decoded information over a network does not make it any less abstract. See, e.g.,

  Ultramercial, 772 F.3d at 716 (noting that “the use of the Internet is not sufficient to save

  otherwise abstract claims from ineligibility under § 101”) (citation omitted).




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         By only claiming the desired result—recognizing and retrieving information

  associated with a pattern like a barcode—without describing any specific roadmap for

  doing so, Claim 1 of the ’752 Patent falls short of claiming eligible subject matter under

  § 101. See Internet Patents, 790 F.3d at 1348; Secured Mail, 873 F.3d at 910–11.

                        (b)    The other asserted claims are directed to the abstract idea of
                               data recognition and retrieval.

         The remaining asserted claims of the Patents-in-Suit relate to the same abstract

  concept of data recognition and retrieval. Specifically, each of the other asserted

  independent claims refers only to standard computing means for decoding data. For

  example, the claims describe a “computer application” comprising “logic” (’752 Patent at

  cl. 17; ’369 Patent at cl. 17), or a “symbology management application” (’752 Patent at cl.

  24; ’369 Patent at cl. 24; ’190 Patent at cl. 20), to perform each of the steps in Claim 1 of the

  ’752 Patent. Other claims replace the terms “object within digital image” with “digital

  image” (’369 Patent at cl. 1; ’190 Patent at cl. 1) and “electronic device” with “portable

  electronic device” (’190 Patent at cl. 17). These claims are thus indistinguishable from

  Claim 1 of the ’752 Patent. Claims 1 and 15 of the ’773 Patent4 recite the additional

  limitation that the visual detection applications run in the “background,”5 which is

  another standard computing function.

         Some of the asserted dependent claims recite similar limitations for: (1) running

  visual detection applications in the background (’752 Patent (cls. 4, 25), ’369 Patent (cls.




  4 The ’773 Patent is the parent patent.
  5 The independent claims in the other Patents-in-Suit do not include this limitation.


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  4, 25), and ’190 Patent (cl. 4)); configuring visual detection applications to automatically

  detect barcodes (’752 Patent (cl. 5), ’369 Patent (cl. 5), ’190 Patent (cl. 5), and ’773 Patent

  (cl. 4)); and (3) analyzing the decode string and selecting appropriate application to

  decode (’752 Patent (cl. 9), ’369 Patent (cl. 9), ’190 Patent (cl. 9), and ’773 Patent (cls. 8, 14,

  17, 18)). The purported problem the applicant wanted to resolve was to provide to users

  a convenient way to select “an appropriate” scanning/decoding application “for

  scanning a particular symbology when multiple scanning applications reside on the

  device.” ’773 Patent at 3:24-36. But running an application in the background, performing

  a task more efficiently, or automating something that was otherwise done manually, does

  not confer patent eligibility. See Bancorp, 687 F.3d at 1279 (“Using a computer to accelerate

  an ineligible mental process does not make that process patent-eligible.”). This is

  especially true since the applicant forgot to disclose any details on how the automatic

  detection of barcodes could be achieved. Symbology interprets the “background”

  limitation in Claims 1 of the ’773 Patent as requiring that visual detection applications be

  able to be “run in the background in standby.” Compl., Ex. E. As such, the “background”

  limitation does not actually solve the stated problem of automatic selection of visual

  detection applications that are simply sitting in conventional “standby” until they are

  brought to the foreground. By only claiming the desired result—automatically detecting

  a pattern like a barcode—without describing any specific roadmap for doing so, these

  claims also fall short of claiming eligible subject matter under § 101. See Internet Patents,

  790 F.3d at 1348; Secured Mail, 873 F.3d at 910–11.




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         The remaining asserted dependent claims are similarly abstract. These claims

  recite insignificant pre- or post-solution activity, such as allowing a user to select certain

  preferences or store data:

   Pre- or Post-Solution Activity                                Claims
   enabling users to select certain preferences                  ’752 Patent (cls. 2, 3, 18)
                                                                 ’369 Patent (cls. 2, 3, 18)
                                                                 ’190 Patent (cls. 2, 3, 18)
                                                                 ’773 Patent (cls. 2, 3)
   detecting barcodes based on user request                      ’752 Patent (cl. 7)
                                                                 ’369 Patent (cl. 7)
                                                                 ’190 Patent (cl. 7)
                                                                 ’773 Patent (cl. 6)
   sending instructions to visual detection applications         ’752 Patent (cl. 8)
   and remote servers                                            ’369 Patent (cl. 8)
                                                                 ’190 Patent (cl. 8)
                                                                 ’773 Patent (cl. 7)
   enabling the user to store information                        ’752 Patent (cl. 11)
                                                                 ’369 Patent (cl. 11)
                                                                 ’190 Patent (cl. 11)
                                                                 ’773 Patent (cl. 10)
   providing e-commerce options to the user                      ’752 Patent (cl. 12)
                                                                 ’369 Patent (cl. 12)
                                                                 ’190 Patent (cl. 12)
                                                                 ’773 Patent (cl. 11)
   decoding barcodes using visual search technology              ’752 Patent (cls. 15, 23)
                                                                 ’369 Patent (cls. 15, 23)
                                                                 ’190 Patent (cl. 15)

  These claims, like Claim 1 of the ’752 Patent, are not meaningfully limited because these

  activities are not “essential to the invention.” Clear with Computers, LLC v. Dick’s Sporting

  Goods, Inc., 21 F. Supp. 3d 758, 763 (E.D. Tex. 2014) (noting limitations must “do more

  than recite pre- or post-solution activity, they [must be] central to the solution itself” to

  be meaningful (quotations omitted)). All of these claims are directed to the abstract idea

  of data recognition and retrieval and are just as abstract as Claim 1 of the ’752 Patent.


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                          (c)     The remaining claims are similarly abstract.

          The other claims of the Patents-in-Suit not specifically asserted in the Complaint

  are also patent-ineligible under the first step of the Alice test. These claims recite

  insignificant pre- or post-solution activity like alerting the user and asking to decode a

  barcode, analyzing a decode string and selecting the appropriate application to decode,

  allowing the user to select an application to decode the barcode, and displaying

  information and images. See, e.g., ’752 Patent at cls. 6, 10, 13, 14, 16, 19, 20, 21, 22, 26, 27,

  28; ’369 Patent at cls. 6, 10, 13, 14, 16, 19, 20, 21, 22, 26, 27, 28; ’190 Patent at cls. 6, 10, 13,

  14, 16, 19; and ’773 Patent at cls. 5, 9, 12, 13, 16. Therefore, none of these claims or any of

  the other claims in the Patents-in-Suit not specifically addressed here are directed to

  anything more than the bare idea of data recognition and retrieval. Symbology’s claims

  all fail the first step of the Alice test.

                  2.      Alice Step 2.

          Because Claim 1 of the ’752 Patent is directed to an abstract idea, the Court must

  next determine whether it contains an “inventive concept sufficient to transform the

  claimed abstract idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal

  quotations omitted). To pass this test, Claim 1 of the ’752 Patent “must include additional

  features” that “must be more than well-understood, routine, conventional activity.”

  Ultramercial, 772 F.3d at 715 (quotation omitted). Here, Claim 1 of the ’752 Patent is

  broadly generic and does not contain meaningful limitations that would restrict it to a

  non-routine, specific application of the abstract idea.




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                       (a)    The claims contain no inventive concept to transform the
                              abstract idea into patent-eligible subject matter.

         Each of the steps recited in Claim 1 of the ’752 Patent is described only at a high

  level of generality as “capturing a digital image,” “detecting” a barcode, “decoding [the

  barcode] . . . to obtain a decode string,” “sending the decode string to a remote server for

  processing,” “receiving information . . . from the remote server,” and “displaying the

  information.” To accomplish these steps, Claim 1 of the ’752 Patent recites the use of a

  “portable electronic device,” “visual detection applications,” and a “remote server.” But

  the claimed “portable electronic device” can be virtually any device capable of taking a

  photograph (’752 Patent at 1:58–61), the “visual detection applications” can be a variety

  of off-the-shelf applications that users have installed on their smartphones (id. at 3:29-33),

  and the claimed “server” is implemented using generic hardware (id. at 9:65-10:1) to

  perform generic website functions (id. at 5:33-42).

         The applicant’s own characterizations demonstrate that the claimed components

  do not “improve the functioning of the computer itself” (Alice, 134 S. Ct. at 2359), for

  example by disclosing an “improved, particularized method of digital data compression”

  (DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014)), or improving

  “the way a computer stores and retrieves data in memory” (Enfish, LLC v. Microsoft Corp.,

  822 F.3d 1327, 1339 (Fed. Cir. 2016)). For example, in Enfish, the Federal Circuit

  distinguished the claims from others that “simply add[ed] conventional computer

  components to well-known business practices” (id. at 1338) holding instead that “they

  [we]re directed to a specific improvement to the way computers operate” (id. at 1336). In



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  particular, the unconventional structure of the database resulted in “increased flexibility,

  faster search times, and smaller memory requirements.” Id. at 1337. Unlike Enfish, nothing

  in Claim 1 of the ’752 Patent shows any unconventional methodology that would amount

  to a “specific improvement to the way computers operate.” Therefore, the focus of the

  Patents-in-Suit is not “on [a] specific asserted improvement in computer capabilities” but

  instead “on a process that qualifies as an ‘abstract idea’ for which computers are invoked

  merely as a tool.” Id. at 1336.

         There is simply nothing “inventive” about using a known process (i.e., decoding

  a barcode) to access a website. See Secured Mail, 873 F.3d at 912. Moreover, the abstract

  functional descriptions in Claim 1 of the ’752 Patent are devoid of any technical

  explanation as to how to implement the purported invention in an inventive way. See In

  re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 615 (Fed. Cir. 2016) (claims failed Alice’s

  step 2 where specification limited its discussion of “additional functionality” of

  conventional components “to abstract functional descriptions devoid of technical

  explanation as to how to implement the invention”). Similar to the invalidated claim in

  Recognicorp, nothing in Claim 1 of the ’752 Patent “‘transforms’ the abstract idea . . . of

  decoding,” i.e., recognizing information, “into patent-eligible subject matter.” 855 F.3d at

  1328 (citing Alice, 134 S. Ct. at 2357).

         Courts have repeatedly held that the presence of generic hardware and software

  like the kind recited in Claim 1 of the ’752 Patent does not make an otherwise abstract

  idea patent-eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir.

  2014) (“That a computer receives and sends the information over a network—with no

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  further specification—is not even arguably inventive.”); Content Extraction, 776 F.3d at

  1348 (“At most, [the] claims attempt to limit the abstract idea of recognizing and storing

  information from hard copy documents using a scanner and a computer to a particular

  technological environment. Such a limitation has been held insufficient to save a claim in

  this context.”); Bancorp, 687 F.3d at 1276–77. In addition, an “abstract idea does not

  become nonabstract by limiting the invention to a particular field of use or technological

  environment, such as [mobile services].” Intellectual Ventures I LL v. Capital One Bank

  U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015). Claim 1 of the ’752 Patent is thus ineligible

  under step two of Alice.

         The purported novelty of the Patents-in-Suit is the result of providing a convenient

  way for scanning barcodes by automating the “difficult” task of manually “select[ing] the

  appropriate application” to scan barcodes (’773 Patent at 3:24–36), but independent

  Claims 1 and 15 of the ’773 Patent (and dependent claims 4, 5, 9 and 25 of the ’752 Patent;

  dependent claims 4, 5, 9, 25 of the ’369 Patent; dependent claims 4, 5, and 9 of the ’190

  Patent; and dependent claims 4, 8, 14, 17, and 18 of the ’773 Patent) do not describe any

  particular non-conventional mechanism for achieving the result. The recited

  limitations—whether considered individually or as an ordered combination—are

  insufficient to add “significantly more” to the abstract idea.

         Because each of the claims of the Patents-in-Suit is altogether devoid of any

  “inventive concept,” they are all patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359–

  60.




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         C.     The Disproportionate Risk of Preemption Confirms that the Claims Are
                Abstract

         Because the claimed methods and systems can be implemented using virtually any

  device capable of taking a photograph, any off-the-shelf scanning/decoding application,

  and any conventional server capable of sending and receiving information, the Patents-

  in-Suit risk preempting all automated methods or systems for recognizing a pattern, like

  a barcode, and retrieving data based on that. See, e.g., Loyalty Conversion Sys. Corp. v. Am.

  Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive effect . . .

  broad” where “the claims [were] largely functional in nature, they [did] not provide any

  significant description of the particular means by which the various recited functions are

  performed,” and “[a]ll that [was] disclosed [was] the ultimate objective”). Therefore, the

  claims implicate the same preemption concern undergirding the § 101 analysis and

  should be found ineligible.

  V.     CONCLUSION

         For the foregoing reasons, and pursuant to Rule 12(c), Cooper respectfully

  requests that the Court grant this motion, and enter judgment in favor of Cooper. Because

  leave to amend would be futile, Cooper requests dismissal with prejudice.




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  Dated: March 12, 2018                  Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above and

  foregoing document has been served on March 12, 2018, to all counsel of record who are

  deemed to have consented to electronic service via the Court’s CM/ECF system per Local

  Rule CV-5(a)(3).

                                                     /s/ David B. Conrad
                                                     David B. Conrad


           DEFENDANTS’ NOTICE OF COMPLIANCE WITH THE COURT’S
                  35 U.S.C. § 101 MOTION PRACTICE ORDER

         Pursuant to the Court’s 35 U.S.C. § 101 Motion Practice Order, lead counsel for

  Defendant Cooper Bussmann, LLC and lead counsel for Plaintiff Symbology Innovations,

  LLC conferred on March 12, 2018, regarding the need for claim construction to resolve

  the § 101 issues in this case, and the undersigned hereby certifies the following:

          X   The parties agree that prior claim construction is not needed to inform the
               Court’s analysis as to patentability.
              The parties disagree on whether prior claim construction is not needed to
               inform the Court’s analysis as to patentability.

                                                     /s/ David B. Conrad
                                                     David B. Conrad




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